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 6
 7
 8
                                      UNITED STATES DISTRICT COURT
 9
                                      EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,                          )     CR F. 04-5321 OWW
12                                                      )
                             Plaintiff,                 )
13                                                      )     ORDER EXONERATING BOND
             v.                                         )
14                                                      )
     RAFAEL AGUIRRE,                                    )
15                                                      )
                             Defendant.                 )
16                                                      )
17
             IT IS HEREBY ORDERED that the bond previously set for defendant
18
     Rafael Aguirre is exonerated as of August 1, 2005 and defendant is
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     remanded to custody as of that date.
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21
     Dated:          August 3          , 2005     /s/ OLIVER W. WANGER
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                                                  ___________________________
23                                                OLIVER W. WANGER
                                                  U.S. DISTRICT COURT JUDGE
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     _________________________________________________________________________________
                                          ORDER-EXONERATION OF BOND                    1
